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                                                              FILED: September 6, 2023

                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT

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                                           No. 23-1890
                                      (8:23-cv-01380-DLB)
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        TAMER MAHMOUD; ENAS BARAKAT; JEFF ROMAN; SVITLANA
        ROMAN; CHRIS PERSAK ; MELISSA PERSAK, in their individual capacities
        and ex rel. their minor children; KIDS FIRST, an unincorporated association

                    Plaintiffs - Appellants

        v.

        MONIFA B. MCKNIGHT; SHEBRA EVANS; LYNNE HARRIS; GRACE
        RIVERA-OVEN; KARLA SILVESTRE; REBECCA SMONDROWSKI;
        BRENDA WOLFF; JULIE YANG; MONTGOMERY COUNTY BOARD OF
        EDUCATION

                    Defendants - Appellees

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        DOUGLAS LAYCOCK, Professor; RICHARD W. GARNETT, Professor;
        HELEN M. ALVARE, Professor; MICHAEL W. MCCONNELL, Professor,
        THOMAS C. BERG, Professor; NICHOLAS BROWN; ZEINA EL DEBS;
        TIMOTHY JANSS; DAGMAR JANSS; STEPHANIE PATE; JEWISH
        COALITION FOR RELIGIOUS LIBERTY; COALITION OF VIRTUE; ISLAM
        AND RELIGIOUS FREEDOM ACTION TEAM; COALITION FOR JEWISH
        VALUES; COMMONWEALTH OF VIRGINIA AND 17 OTHER STATES

                   Amici Curiae

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                                          ORDER
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                 Commonwealth of Virginia and 17 Other States has filed an amicus curiae

        brief.

                 The court accepts the brief for filing.

                                                   For the Court--By Direction

                                                   /s/ Nwamaka Anowi, Clerk
